                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             DOCKET NO. 3:09-cr-00039-W


 UNITED STATES OF AMERICA,                          )
                                                    )
                  Plaintiff,                        )
                                                    )
         vs.                                        )                  ORDER
                                                    )
 MICHAEL GREENE,                                    )
                                                    )
                  Defendant.                        )
                                                    )


        THIS MATTER is before the Court on the Government’s Motion to Dismiss (Doc. No. 342)
the filing by Defendant entitled “Affidavit of Notice of Conditional Acceptance in the Nature of a
Writ of Discovery” (Doc. No. 335). In support of its motion to dismiss, the Government argues that
Defendant’s filing is frivolous and irrelevant to the criminal proceedings at bar. The Court agrees.
        Defendant’s filing is not only frivolous, but also is not based on any cognizable legal
argument or principle of law. This Court further finds that the aforementioned filing has absolutely
no bearing whatsoever on the issues raised in the Superceding Indictment or the jury’s verdict found
at the trial of this matter.
        IT IS, THEREFORE ORDERED that the Government’s motion (Doc. No. 342) is
GRANTED and Defendant’s filing (Doc. No. 335) shall be DISMISSED as frivolous. Because
Defendant’s filing is already part of the docket, the Court hereby orders Document Number 335 to
be SEALED and available only to Defendant Michael Greene and the Government.
        IT IS SO ORDERED.
                                             Signed: February 22, 2010




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